                             UNITED STATES JUDICIAL PANEL
                                          on
                              MULTIDISTRICT LITIGATION



IN RE: NATIONAL PRESCRIPTION OPIATE
LITIGATION                                                                            MDL No. 2804



                                  (SEE ATTACHED SCHEDULE)



                       CONDITIONAL TRANSFER ORDER (CTO í21)



On December 5, 2017, the Panel transferred 62 civil action(s) to the United States District Court for
the Northern District of Ohio for coordinated or consolidated pretrial proceedings pursuant to 28
U.S.C. § 1407. See _F.Supp.3d_ (J.P.M.L. 2017). Since that time, 460 additional action(s) have been
transferred to the Northern District of Ohio. With the consent of that court, all such actions have
been assigned to the Honorable Dan A. Polster.

It appears that the action(s) on this conditional transfer order involve questions of fact that are
common to the actions previously transferred to the Northern District of Ohio and assigned to Judge
Polster.

Pursuant to Rule 7.1 of the Rules of Procedure of the United States Judicial Panel on Multidistrict
Litigation, the action(s) on the attached schedule are transferred under 28 U.S.C. § 1407 to the
Northern District of Ohio for the reasons stated in the order of December 5, 2017, and, with the
consent of that court, assigned to the Honorable Dan A. Polster.

This order does not become effective until it is filed in the Office of the Clerk of the United States
District Court for the Northern District of Ohio. The transmittal of this order to said Clerk shall be
stayed 7 days from the entry thereof. If any party files a notice of opposition with the Clerk of the
Panel within this 7íday period, the stay will be continued until further order of the Panel.



                                                      FOR THE PANEL:
                   Apr 16, 2018


                                                      Jeffery N. Lüthi
                                                      Clerk of the Panel
IN RE: NATIONAL PRESCRIPTION OPIATE
LITIGATION                                                            MDL No. 2804



                  SCHEDULE CTOí21 í TAGíALONG ACTIONS



 DIST      DIV.     C.A.NO.    CASE CAPTION


ALABAMA MIDDLE

 ALM        1       18í00363   City of Abbeville, Alabama v. Purdue Pharma L.P. et al
 ALM        2       18í00341   City of Georgiana, Alabama v. Purdue Pharma L.P. et al
                               Town of McKenzie, Alabama v. Purdue Pharma L.P. et
 ALM        2       18í00342   al

GEORGIA NORTHERN

                               The City of Gainesville, Georgia v. AmerisourceBergen
 GAN        2       18í00039   Drug Corporation et al

INDIANA SOUTHERN

                               TOWN OF CHANDLER, INDIANA v.
  INS       3       18í00064   AMERISOURCEBERGEN DRUG CORPORATION et
                               al
                               JACKSON COUNTY, INDIANA v.
  INS       4       18í00054   AMERISOURCEBERGEN DRUG CORPORATION et
                               al

MARYLAND

                               Prince George's County Maryland v. Purdue Pharma
  MD        8       18í00870   L.P. et al

MASSACHUSETTS

                               City of Malden v. Amerisourcebergen Drug Corporation
  MA        1       18í10602   et al

RHODE ISLAND

                               City of Warwick, RI v. Amerisourcebergen Drug
  RI        1       18í00136   Corporation et al
                               Town of North Providence v. Amerisourcebergen Drug
  RI        1       18í00137   Corporation et al
  RI        1       18í00138
                    Town of Johnston v. Amerisourcebergen Drug
                    Corporation, et al.
                    City of Pawtucket, RI v. Amerisourcebergen Drug
RI   1   18í00139   Corporation et al
                    City of East Providence v. Amerisourcebergen Drug
RI   1   18í00140   Corporation et al
                    Town of Cumberland, Rhode Island v.
RI   1   18í00141   Amerisourcebergen Drug Corporation et al
                    City of Central Falls, Rhode Island v.
RI   1   18í00142   Amerisourcebergen Drug Corporation et al
                    Town of Charlestown Rhode Island v.
RI   1   18í00143   Amerisourcebergen Drug Corporation et al
                    Town of Barrington v. Amerisourcebergen Drug
RI   1   18í00144   Corporation et al
                    Town of Bristol v. Amerisourcebergen Drug
RI   1   18í00145   Corporation et al
                    Town of Burrillville v. Amerisourcebergen Drug
RI   1   18í00146   Corporation et al
                    Town of Coventry Rhode Island v. Amerisourcebergen
RI   1   18í00147   Drug Corporation et al
                    City of Cranston, Rhode Island v. Amerisourcebergen
RI   1   18í00149   Drug Corporation et al
                    Town of Foster v. Amerisourcebergen Drug Corporation
RI   1   18í00150   et al
                    Town of Glocester v. Amerisourcebergen Drug
RI   1   18í00152   Corporation et al
                    Town of Hopkinton Rhode Island v. Amerisourcebergen
RI   1   18í00153   Drug Corporation et al
                    Town of Jamestown, a municipal corporation v.
RI   1   18í00154
                    Amerisourcebergen Drug Corporation et al
                    Town of Narragansett v. Amerisourcebergen Drug
RI   1   18í00155   Corporation et al
                    City of Newport, Rhode Island v. Amerisourcebergen
RI   1   18í00156   Drug Corporation et al
                    Town of North Kingstown v. Amerisourcebergen Drug
RI   1   18í00157   Corporation et al
                    Town of Richmond v. Amerisourcebergen Drug
RI   1   18í00158   Corporation et al
                    Town of Smithfield v. Amerisourcebergen Drug
RI   1   18í00159   Corporation et al
                    Town of South Kingstown Municipal Corporation v.
RI   1   18í00160
                    Amerisourcebergen Drug Corporation et al
RI                  Town of West Greenwich v. Amerisourcebergen Drug
     1   18í00161   Corporation et al
                    Town of West Warwick,Rhode Island v.
RI   1   18í00162   Amerisourcebergen Drug Corporation et al
                    Town of Westerly v. Amerisourcebergen Drug
RI   1   18í00163   Corporation et al
